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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    Nikola Corp., et al.,1                                    Case No. 25-10258 (TMH)

                      Debtors.                                (Joint Administration Requested)


              NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS AND RELATED
                DOCUMENTS AND (II) AGENDA FOR HEARING ON FIRST DAY
              MOTIONS SCHEDULED FOR FEBRUARY 20, 2025 AT 10:00 A.M. (ET)2


      This proceeding will be conducted in-person and remotely via Zoom. All counsel and
        witnesses are expected to attend unless permitted to appear remotely via Zoom.
                        At the direction of the Court, all out-of-town parties are
                                permitted to appear remotely via Zoom.
         Please refer to Judge Horan’s Chambers Procedures and the Court’s website
        (http://www.deb.uscourts.gov/ecourt-appearances) for information on who may
       participate remotely, the method of allowed participation (video or audio), Judge
    Horan’s expectations of remote participants, and the advance registration requirements.
             Registration is required by one hour prior the hearing unless otherwise noticed
                   using the eCourtAppearances tool available on the Court’s website.



             PLEASE TAKE NOTICE that on February 19, 2025, the above-captioned debtors and

debtors in possession (the “Debtors”) filed the following voluntarily petitions (the “Petitions”) for

relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532:



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are: Nikola Corporation (registered to do business in California as Nikola Truck Manufacturing
      Corporation) (1153); Nikola Properties, LLC (3648); Nikola Subsidiary Corporation (1876); Nikola Motor
      Company LLC (0193); Nikola Energy Company LLC (0706); Nikola Powersports LLC (6771); Free Form
      Factory Inc. (2510); Nikola H2 2081 W Placentia Lane LLC (N/A); 4141 E Broadway Road LLC (N/A); and
      Nikola Desert Logistics LLC (N/A). The Debtors’ headquarters are located at 4141 East Broadway Road,
      Phoenix, AZ 85040.

2
      All motions and other pleadings referenced herein are available online at the following address:
      https://dm.epiq11.com/Nikola.


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A.       Voluntary Petitions:

         1.       Nikola Corporation [Case No. 25-10258]

         2.       Nikola Properties, LLC [Case No. 25-10259]

         3.       Nikola Subsidiary Corporation [Case No. 25-10260]

         4.       Nikola Motor Company LLC [Case No. 25-10261]

         5.       Nikola Energy Company LLC [Case No. 25-10262]

         6.       Nikola Powersports LLC [Case No. 25-10263]

         7.       Free Form Factory Inc. [Case No. 25-10264]

         8.       Nikola H2 2081 W Placentia Lane LLC [Case No. 25-10265]

         9.       4141 E Broadway Road LLC [Case No. 25-10266]

         10.      Nikola Desert Logistics LLC [Case No. 25-10267]

         PLEASE TAKE FURTHER NOTICE that in addition to the filing of the Petitions, the

Debtors filed the following first day motions and related pleadings (collectively, the “First Day

Motions”).

B.       First Day Motions:

         11.      Debtors’ Motion for an Order Directing Joint Administration of Chapter 11 Cases
                  [Docket No. 3 - filed February 19, 2025]

         12.      Debtors’ Application for Authority to Employ and Retain Epiq Corporate
                  Restructuring, LLC as Claims and Noticing Agent Effective as of the Petition Date
                  [Docket No. 22 - filed February 19, 2025]

         13.      Debtors’ Motion for an Order Seeking Relief from the Requirement to File Lists of
                  Equity Holders [Docket No. 5 - filed February 19, 2025]

         14.      Debtors’ Motion for Entry of an Order Authorizing Redaction of Certain Personal
                  Identifying Information Within the Consolidated List of Creditors and Other Filings
                  [Docket No. 6 - filed February 19, 2025]




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         15.      Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Form of
                  Adequate Assurance of Payment to Utility Companies, (II) Establishing Procedures
                  for Resolving Objections by Utility Companies, (III) Prohibiting Utility Companies
                  from Altering, Refusing, or Discontinuing Services, and (IV) Granting Related
                  Relief [Docket No. 7 - filed February 19, 2025]

         16.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Them to
                  (A) Maintain Insurance Policies and Honor Obligations Thereunder, and
                  (B) Renew, Amend, Supplement, Extend, or Purchase New Insurance Policies, and
                  (II) Granting Related Relief [Docket No. 8 - filed February 19, 2025]

         17.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                  to Pay Certain Prepetition Taxes and Fees, (II) Authorizing the Debtors’ Banks to
                  Honor All Related Payment Requests, and (III) Granting Related Relief
                  [Docket No. 9 - filed February 19, 2025]

         18.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                  to (A) Pay Prepetition Wages, Compensation, Employee Benefits, and Other
                  Employee Obligations and (B) Continue Certain Employee Benefit Programs in the
                  Ordinary Course; (II) Authorizing All Banks to Honor Prepetition Checks for
                  Payment of Prepetition Employee Obligations; and (III) Granting Related Relief
                  [Docket No. 10 - filed February 19, 2025]

         19.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                  to (A) Continue to Operate Their Cash Management System, (B) Honor Certain
                  Prepetition Obligations Related Thereto, and (C) Maintain Existing Business
                  Forms; (II) Authorizing the Debtors’ Banks to Honor All Related Payment
                  Requests; and (III) Granting Related Relief [Docket No. 11 - filed February 19,
                  2025]

         20.      Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification
                  and Hearing Procedures for Certain Transfers of Common Stock and (II) Granting
                  Related Relief [Docket No. 12 - filed February 19, 2025]

         21.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                  Maintenance, Administration, and Continuation of Debtors’ Customer Programs,
                  and (II) Granting Related Relief [Docket No. 13 - filed February 19, 2025]

         22.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                  to Pay Certain Prepetition Claims of Trade Claimants, Lienholder Claims, and
                  503(b)(9) Claims; (II) Authorizing Banks to Honor and Process Check and
                  Electronic Transfer Requests Related Thereto; and (III) Granting Related Relief
                  [Docket No. 14 - filed February 19, 2025]




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         23.      Debtors’ Motion for Entry of an Order Shortening and Limiting the Notice with
                  Respect to the Debtors’ Bid Procedures Motion [Docket No. 17 - filed February 19,
                  2025]

                  i.     Debtors’ Motion for Entry of Orders (I)(A) Approving Bidding Procedures
                         for the Sale of Substantially All of the Debtors’ Assets, (B) Authorizing the
                         Debtors to Designate One or More Stalking Horse Bidders and to Provide
                         Bid Protections, (C) Scheduling an Auction and Approving the Form and
                         Manner of Notice Thereof, (D) Approving Assumption and Assignment
                         Procedures, (E) Scheduling a Sale Hearing and Approving the Form and
                         Manner of Notice Thereof and (F) Granting Related Relief; and
                         (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens,
                         Claims, Interests, and Encumbrances, (B) Approving the Assumption and
                         Assignment of Certain Executory Contracts and Unexpired Leases, and
                         (C) Granting Related Relief [Docket No. 15 - filed February 19, 2025]

C.       First Day Declarations:

         24.      Declaration of Stephen J. Girsky in Support of Chapter 11 Petitions and First Day
                  Motions [Docket No. 18 - filed February 19, 2025]

         25.      Declaration of Drew M. Talarico in Support of the Debtors’ Motion for Entry of
                  Orders (I)(A) Approving Bidding Procedures for the Sale of Substantially All of
                  the Debtors’ Assets, (B) Authorizing the Debtors to Designate One or More
                  Stalking Horse Bidders and to Provide Bid Protections, (C) Scheduling an Auction
                  and Approving the Form and Manner of Notice Thereof, (D) Approving
                  Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and
                  Approving the Form and Manner of Notice Thereof, and (F) Granting Related
                  Relief; and (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of
                  Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption And
                  Assignment of Certain Executory Contracts and Unexpired Leases, and
                  (C) Granting Related Relief [Docket No. 16 - filed February 19, 2025]

D.       Other Documents:

         26.      Notice of Filing of Initial Cash Flow Budget [Docket No. 19 - filed February 19,
                  2025]

         PLEASE TAKE FURTHER NOTICE that a hearing with respect to the First Day

Motions is scheduled for February 20, 2025 at 10:00 a.m. (ET) at the United States Bankruptcy

Court for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom No. 5,

Wilmington, Delaware 19801 before The Honorable Thomas M. Horan, United States Bankruptcy



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Judge for the District of Delaware. Out-of-town parties who wish to participate in the First Day

Hearing may do so by registering using the Court’s eCourtAppearances tool at

http://www.deb.uscourts.gov/ecourt-appearances and also found on the Court’s website.

Registration is required one-hour prior to the hearing unless otherwise noticed.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day Motions

may be made at the First Day Hearing.

 Dated: February 19, 2025                          Respectfully submitted,
        Wilmington, Delaware
                                                   /s/ Maria Kotsiras
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                      Proposed Counsel to the Debtors and Debtors in Possession




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